Case 1-22-40304-jmm   Doc 68-4   Filed 04/14/22    Entered 04/14/22 17:03:48




                                Exhibit C
                          (Preference Transfers)
 Case 1-22-40304-jmm             Doc 68-4   Filed 04/14/22       Entered 04/14/22 17:03:48




                        Summary of Transfers from Jar 259 Food Corp.
     Transferee             Bank       Account Number   Amount                           Clear Date
Wynwood Capital Group    BOA - JAR 259           1101    4,497.00     Wednesday, December 1, 2021
Wynwood Capital Group        CITI              5540      4,497.00          Friday, December 3, 2021
Wynwood Capital Group        CITI              5540      4,497.00        Monday, December 6, 2021
Wynwood Capital Group    M&T OM VEG            6666      4,497.00        Monday, December 6, 2021
Wynwood Capital Group    BOA - JAR 259           1101    4,497.00        Tuesday, December 7, 2021
Wynwood Capital Group        CITI              5540      4,497.00        Tuesday, December 7, 2021
Wynwood Capital Group    BOA - JAR 259           1101    4,497.00     Wednesday, December 8, 2021
Wynwood Capital Group    BOA - JAR 259           1101    4,497.00       Thursday, December 9, 2021
Wynwood Capital Group    BOA - JAR 259           1101    4,497.00         Friday, December 10, 2021
Wynwood Capital Group    BOA - JAR 259           1101    4,497.00       Monday, December 13, 2021
Wynwood Capital Group    BOA - JAR 259           1101    4,497.00       Tuesday, December 14, 2021
Wynwood Capital Group        CITI              5540      4,497.00    Wednesday, December 15, 2021
Wynwood Capital Group        CITI              5540      4,497.00      Thursday, December 16, 2021
Wynwood Capital Group        CITI              5540      4,497.00       Monday, December 20, 2021
Wynwood Capital Group        CITI              5540      4,497.00       Tuesday, December 21, 2021
Wynwood Capital Group        CITI              5540      4,497.00    Wednesday, December 22, 2021
Wynwood Capital Group        CITI              5540      4,497.00      Thursday, December 23, 2021
Wynwood Capital Group        CITI              5540      4,497.00         Friday, December 24, 2021
Wynwood Capital Group        CITI              5540      4,497.00       Monday, December 27, 2021
Wynwood Capital Group        CITI              5540      4,497.00       Tuesday, December 28, 2021
Wynwood Capital Group        CITI              5540      4,497.00    Wednesday, December 29, 2021
Wynwood Capital Group        CITI              5540      4,497.00      Thursday, December 30, 2021
Wynwood Capital Group        CITI              5540      4,497.00         Friday, December 31, 2021
Wynwood Capital Group        CITI              5540      4,497.00           Monday, January 3, 2022
Wynwood Capital Group        CITI              5540      4,497.00           Tuesday, January 4, 2022
Wynwood Capital Group    BOA - JAR 259           1101      500.00        Thursday, January 27, 2022

                         TOTAL                          112,925.00
